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GIBSON, DUNN & CRUTCHER LLP

Stephanie L. Silvano (New Jersey Bar No. 168182016)
200 Park Avenue |

New York, NY 10166-0193

T: 212.351.4000

F: 212.351.4035

E: SSilvano@gibsondunn.com

Attorney for Plaintiff Gustavo Martinez

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

GUSTAVO MARTINEZ

Plaintiff,
Vv.

CITY OF ASBURY PARK, Civil Action No. 3:20-8710-AET-DEA
MONMOUTH COUNTY, BOROUGH
OF BELMAR, AMIR BERCOVICZ,
DEWITT BACON, DANIEL
SAVASTANO, WILLIAM WHITLEY,
and JOHN DOE OFFICERS 1-14,

Defendants,

STIPULATION OF DISMISSAL OF ACTION AND ALL CLAIMS
WITH PREJUDICE PURSUANT TO FED. R. CIV, P. 41(a)()(A)(ii)

Plaintiff Gustavo Martinez and Defendants City of Asbury Park, Amir Bercovicz, Dewitt
Bacon, Daniel Savastano, William Whitley, Borough of Belmar, and Monmouth County hereby
stipulate under Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure that this action be
dismissed with prejudice as to all claims, causes of action, and parties, with each party bearing that
party’s own attorney’s fees and costs.
if
Hf

if

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/s/ Stephanie EL, Silvane
Stephanie L, Silvano
Gibson, Dunn & Crutcher LLP
200 Park Avenue
New York, NY 10166
T: 212-351-2621

Attorney for Plaintiff Gustavo Martinez

Dated: June 7, 2023

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So Ordered this ——__._ day

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Hon. Zehid N. Quraishi
United States District Judge

/s/ Roshan Deven Shah
Roshan Deven Shah
Anderson & Shah, LLC
1040 Broad Street, Suite 304
Shrewsbury, NJ 07702
T: 732-398-6545

Attorney for Defendants City of Asbury Park,
Amir Bercovicz, Dewitt Bacon, Daniel
Savastano, and William Whitley

Dated: June 7, 2023

/s/ Patrick Varga
Thomas E, Monahan
Dasti, Murphy, McGuckin, Ulaky,
Koutsouris & Connors
620 West Lacey Road
P.O. Box 1057
Forked River, NJ 08731
T: 609-971-1010

Attorney for Defendant Borough of Belmar
Dated: June 7, 2023

/s/ Robyn B. Gigl
Robyn B. Gigi
Fay L. Szakal
Gluck Wailrath
4 Paragon Way
Suite 400
Freehold, NJ 07728
T: 732-530-8822

Attorney for Defendant County of Monmouth

Dated: June 7, 2023

